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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA


                                       Alexandria Division


 JOHN W. GREGORY,                                     >
                        Plaintiff,                    (
                                                      )      Civil No. l:18-cv-16


 MICHAEL L. CHAPMAN, et al.,                          j      Hon- Liam °'Grady
                        Defendants.                   '


                           MEMORANDUM OPINION & ORDER

       This matter is before the Court on Motions to Dismiss by Defendant Michael Chapman

(Dkt. 14) and Defendants Board of Supervisors of Loudoun County, Virginia ("the Board") and

Defendant Loudoun County, Virginia ("the County") (Dkt. 17). Because the factual and legal

issues are adequately presented in the materials before the Court, we dispense with oral argument

and will resolve the motions on the record. For the reasons explained below and for good cause

shown, the motions (Dkt. 14; Dkt. 17) are GRANTED and this case is hereby DISMISSED.

  I.   Background

       On June 14,2015, PlaintiffJohn W. Gregory, in his capacity as a law enforcement officer

and an employee of the Loudoun County Sheriffs Office, arrested an individual named Lyle

Grenoble for public intoxication. Mr. Grenoble allegedly manifested signs of resistance and

aggression. When they reached the station and as Mr. Grenoble exited Plaintiffs cruiser,

Plaintiff threw Mr. Grenoble to the ground. As a result of this physical interaction, a criminal
complaint for assault and battery was filed against Plaintiff in the General District Court of

Loudoun County. On November 17,2015, thecourt found Plaintiffguilty, and Plaintiff

thereafter appealed his conviction.
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